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The Official Online Presence of The Ultimate Warrior

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WARRIOR SPEAKS TO WWE DVD RUMORS.

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DVD Rumor Response-07.27.05

Hello warriors.

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WWE is releasing an Ultimate Warrior DVD set. Two prominent rumors are on the street. One is that
the title will be “The Self Destruction of The Ultimate Warrior,” The other is this, supposedly a WWE

insider's anonymous post put up at Warrior Central:
"Hi everyone,

I know there is a great deal of BS and lies on the
internet, so I understand if you do not believe me
during this post, but I will go ahead anyway. I do not
want to disclose my name, as ] know the company
monitors the internet quite tight, but I have been
working as an intem at the production department of
Titan Television (WWE's studios). I have been involved
in the making of several DVD projects these past few
months, one of which was the forthcoming Ultimate
Warrior 2 disc set.

While I can't give out too many specifics on the set,
I can tell you a few things that may upset you as

Warrior fans, and would like your feedback which I
will happily return to my supervisor, Mr Chambers.

First off, Vince McMahon and Warrior have actually

spoke several times regarding this DVD. Those of you

who have purchased WWE ‘Legends' DVDs will know how
they work...there is a documentary on the wrestler,

and fellow superstars and office staff will talk about

that wrestler - memories, favorite moments, opinions,
backstage stories, etc. We recently released a DVD on

the Road Warriors, which featured Animal tracing the

roots of the characters and giving insights into their

careers as superstars, wrestlers, and men.

Vince wanted Warrior to do the same, and called him at
home. Warrior apparently has his own documentary film
coming soon and said to Vince he would like to doa
deal where they could have flyers inside each DVD to
help advertise the other one, Mr McMahon said he
didn't want to do this, as it wouldn't be a 50-50
beneficial deal(it would benefit Warrior much more

than WWE), and that the sharcholders wouldn't like
advertising with a former talent,

Warrior was worried about being seen as a hypocnite if
he appeared on the DVD, and when Vince refused
advertising and a smaller fee than what Warrior
wanted, Warrior refused steadfast to participate in

it. Negotiations ended there on the phone, and I was

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told by my supervisor that Vince told Warrior "Well
then, we'll see what happens.”

I can reveal to you that this DVD is not going to be
one that fans will want to see, Many talents have
appeared on this disc to talk about Warrior - Bobby
Heenan, Pat Patterson, Paul] London, HHH, JR, John
Cena, Batista, Hogan, Eddie, Benoit and others - and
every single one of them has painted him a negative
light. All the comments make fun of Warrior, and talk
about what an idiot, flash in the pan, and lucky guy
he was.

There are also two bonus features on disc 2. The first
is "Ultimate Impressions" in which current WWE
superstars do their best impersonation of Warmicr. It

is sad to say the least - Benoit foams at the mouth

and yells at the top of his voice... HHH messes his

hair all up and pretends to be Warrior shaking the
ropes, and Batista ties some bootlaces around his arms
and talks to his hands. More insulting, there 1s a
"Warrior Calamati¢s" montage of times when Warrior has
made mistakes - slipping over, bloopers during
interviews, botched moves, etc.

Basically, the whole thing is made to have the message
that Warrior was intense and powerful, but also a bit

of an idiot. He is painted in the same light as Doink,
Repo Man and Duke Droese, rather than as a legend next
to Randy Savage, Bret Hart and André. Sad - because
the majority of people who would buy this would be UW
fans from the 80s...and once they know that this is a
giant farce, they will boycott it and the DVD will

fail to sell,

Good business sense Mr McMahon!! It looks like another
desperate attempt to bury UW."

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Tellingly, and as is typical, this is a combination of small truths and fat lies. Specific advertising
promotions were not discussed, money was not discussed at all -- let alone a proposed smaller fee
causing disgruntlement, shareholders wouldn’t like advertising with a former talent? -- ple-e-ase, WWE
is practically a fing nursing home for former talent, and advertising and bilking it for all its worth all
the time; negotiations didn’t end on the phone -- I have more than a handful of voicemails from Kevin

Dunn, and other communication, to prove it.

| do believe this was spawned in-house over at WWE, and that the writer was instructed to speciously

concoct it and get it out, beginning with placing it at Warrior Central.

[ did speak to Vince - one time only, not several times. He did call me at my house and left a message
and I called him back. His call to me was prompted by a series of previous phone calls others had.

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